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                            Exhibit A
        Case 4:21-cv-00948-ALM-CAN Document 33-1 Filed 03/21/22 Page 2 of 5 PageID #: 201


From: Carter, Charles
Sent: Wednesday, December 22, 2021 6:05:00 PM
To: Keith Otto; keithottomba@gmail.com
Cc: Vernon, Trudy; Moore, Kim S.
Bcc: B2723_399445 _ Keith Otto _ UE _167321 _ Collin County Community College District Communications
Subject: RE: Rule 26(f) Conference in Otto v. Collin College, No. 4:21-CV-00948-ALM-CAN
Sensitivity: Normal


Good evening Mr. Otto,

I appreciate your email regarding the timing of the Rule 26(f) conference.

As I mentioned on the phone yesterday, I want to work with you so that we comply with the Court’s Order
Governing Proceedings (Dkt. 12, the “Order”) in a timely manner, but I also cannot provide you with any legal
advice or counsel.

For clarity’s sake, please allow me to address your concerns in turn:

   1. “I have not consented to trial before a magistrate, so it would be discourteous to take up the Magistrate’s
      time at this time;”
         a. W e have also not consented to trial before a magistrate at this time.
         b. In the interest of timely compliance with the Court’s Order, I will represent to you that Magistrate
            Judge Nowak’s authority to hear pre-trial matters in our case does not depend on either of us
            consenting to a trial before a magistrate.
   2. “Additionally, December 27, 2021, I believe, is an Official holiday. Moreover, both of my daughters are
      usually far away at University, but will be visiting for a short time;”
         a. You are correct that December 27, 2021 is an official holiday.
         b. Per Rules 6 and 26(f)(1) of the Federal Rules of Civil Procedure, I would be happy to move our Rule
            26(f) conference call to December 28, 2021 by close of business (5:00 PM CST).
   3. “Further, preparing for a formal meeting requires access to legal treaties which are not now at hand. For
      example, the key Law Library of which I am aware is not accessible to me or the general public at this
      time;”
         a. W hen we discussed this issue on the phone yesterday, I informed you that the requirements for our
            Rule 26(f) conference are listed in the Court’s Order (which I attached to my original email to you). I
            understood that you wished to review Rule 26 for yourself, and you indicated that you would consult
            online versions of the Federal Rules of Civil Procedure and specifically referenced the free and
            publicly available version of the Federal Rules on Cornell’s website.
         b. During our call yesterday. you informed me that you tried to access SMU’s law library and that it was
            not open to the public. However, I called the library this afternoon and the librarian informed me
            that the library would be open to the public (including those without bar cards or SMU ID cards) until
            6 PM tonight, but that it would be closed until the new year.
         c. The Court’s webpage for pro se litigants includes links to free online versions of the Federal Rules of
            Civil Procedure and the Local Rules of the Eastern District —as well as information about other law
            libraries: https://www.txed.uscourts.gov/?q=pro-se-litigants.
   4. “Additionally, before a formal meeting, I need to know whether your Client agrees that they have been
      properly served with notice of my Complaint and if not, please provide me the name, and address of the
      person who they claim as authority to receive notice of my Complaint;”
         a. W hether my client agrees that it has been properly served does not change our obligation to abide
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             by the Court’s Order.
          b. In the interest of timely compliance with the Court’s Order, I will represent to you that we are not
             challenging service at this time.
   5. “In light of these matters noted above, please advise me whether your Client agrees to extend by a least
      a month each of the deadlines set before Magistrate “Christine A. Nowak” Order Governing Proceedings;”
         a. Although I would love to work with you to reach an agreement to push these deadlines, we cannot
            unilaterally agree to move these deadlines.
         b. Should you decide to request a continuance, I will not oppose a one-time, 30-day request for a
            continuance if such a request is made prior to the entry of a scheduling order. This would be
            something you would need to do with the Court.
   6. “After all and lastly, please acknowledge receipt of this email. Please confirm no later than December,
      24th 2021 receipt of this email to you.”
         a. Acknowledged.

W hile I understand the inconvenience of your current situation, on behalf of our client we will timely comply.
Please let me know if you wish to continue with our original agreement to hold our Rule 26(f) conference via
phone at 9:30 AM on December 27, 2021 or if you wish to move it to a time most convenient for you on
December 28, 2021. If I do not hear from you, I will call you at 9:30 AM on December 27, 2021 per our original
agreement. If you decline to participate in a Rule 26(f) conference with me by close of business on December
28, 2021, I will proceed with filing a report with the court. If you are declining participation in a timely Rule 26(f)
conference with me, please let me know in writing.

It is my sincere wish that we will be able to hold a timely Rule 26(f) conference and submit a collaborative joint
report to the Court.

Thanks,

Chas



From: Keith Otto <kvotto@gmail.com>
Sent: Wednesday, December 22, 2021 12:40 PM
To: Carter, Charles <ccarter@clarkhill.com>; keithottomba@gmail.com
Cc: Vernon, Trudy <TVernon@ClarkHill.com>; Moore, Kim S. <KSMoore@clarkhill.com>
Subject: RE: Rule 26(f) Conference in Otto v. Collin College, No. 4:21-CV-00948-ALM-CAN
Importance: High

[External Message]

Hello Charles, hope all is well.

Our meeting on December 27th , 2021 seems inappropriate for the following reasons:

   1. I have not consented to trial before a magistrate, so it would be discourteous to take up the Magistrate’s time at this
      time;
   2. Additionally, December 27, 2021, I believe, is an Official holiday. Moreover, both of my daughters are usually far away
      at University, but will be visiting for a short time;
   3. Further, preparing for a formal meeting requires access to legal treaties which are not now at hand. For example, the
      key Law Library of which I am aware is not accessible to me or the general public at this time;

   4. Additionally, before a formal meeting, I need to know whether your Client agrees that they have been properly served
           Case 4:21-cv-00948-ALM-CAN Document 33-1 Filed 03/21/22 Page 4 of 5 PageID #: 203
        with notice of my Complaint and if not, please provide me the name, and address of the person who they claim as
        authority to receive notice of my Complaint;
    5. In light of these matters noted above, please advise me whether your Client agrees to extend by a least a month each
       of the deadlines set before Magistrate “Christine A. Nowak” Order Governing Proceedings;

    6. After all and lastly, please acknowledge receipt of this email. Please confirm no later than December, 24th 2021 receipt
       of this email to you.


Thank You, Talk to You Soon

Thoughts become Reality, So Think Like a Champion, Today! © 2008
<><><><><><><><><><><><><><><><><><><><><>
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Finance / Strategy / Innovation
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From: Carter, Charles [mailto:ccarter@clarkhill.com]
Sent: Tuesday, December 21, 2021 5:22 PM
To: kvotto@gmail.com; keithottomba@gmail.com
Cc: Vernon, Trudy <TVernon@ClarkHill.com>; Moore, Kim S. <KSMoore@clarkhill.com>
Subject: RE: Rule 26(f) Conference in Otto v. Collin College, No. 4:21-CV-00948-ALM-CAN

Mr. Otto,

Thank you for taking my call a few minutes ago.

As we discussed on the phone, I will call you at 9:30 AM on December 27, 2021 to have our Rule 26(f)
conference. I will call you from my cell phone, which is 480-766-9180.

I understand that you are looking for an attorney, however, and will not call you if I learn that you have
obtained counsel in the interim.

Thanks,

Chas



From: Carter, Charles
Sent: Friday, December 17, 2021 4:10 PM
To: kvotto@gmail.com; keithottomba@gmail.com
Cc: Vernon, Trudy <TVernon@ClarkHill.com>; Moore, Kim S. <KSMoore@clarkhill.com>
Subject: Rule 26(f) Conference in Otto v. Collin College, No. 4:21-CV-00948-ALM-CAN
            Case 4:21-cv-00948-ALM-CAN Document 33-1 Filed 03/21/22 Page 5 of 5 PageID #: 204
Good afternoon Mr. Otto,

My name is Charles (“Chas”) Carter and I am an attorney representing Collin College in the lawsuit you filed
against the College (Civil Action No. 4:21-CV-00948-ALM-CAN). I left a voicemail on your cell just a few minutes
ago, but I wanted to follow up via email as well.

First, if you have engaged counsel to represent you in this lawsuit, please let me know as soon as possible so that
I can communicate with your counsel.

If you are continuing to represent yourself, then we need to hold a Rule 26(f) Conference per the Court’s Order
Governing Proceedings by December 27, 2021 (attached). As outlined in the attached Order, the goal of the
Rule 26(f) Conference is to attempt to agree on a proposed scheduling order and a related joint report. If we
agree, then our joint report and proposed scheduling order will be due on January 10, 2022. If we can’t reach
an agreement, we will have to file separate reports and proposed scheduling orders by January 10, 2022. I hope
that we can have a productive conference and submit a joint report and proposed scheduling order.

Is there a time next week that works well for you to have this Rule 26(f) Conference via phone? I am generally
open through next week through Friday morning, so please let me know what is best for you.

If I don’t hear from you by noon (CST) on Tuesday, December 21, 2021, I will call you again that afternoon.

Thanks and have a great weekend,

Chas


Charles Carter
Attorney a t La w
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